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                                       #:1055



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  15                             UNITED STATES DISTRICT COURT
  16                            CENTRAL DISTRICT OF CALIFORNIA
                                      SOUTHERN DIVISION
  17
       SKYWORKS SOLUTIONS, INC.,                Case No.: 8:24-cv-00974-FWS-ADS
  18
                           Plaintiff,           SKYWORKS’ APPLICATION TO
  19                                            FILE UNDER SEAL CERTAIN
                           v.                   DOCUMENTS IN SUPPORT OF ITS
  20                                            EX PARTE APPLICATION FOR
       KANGXI COMMUNICATION                     LEAVE TO SERVE ITS FIRST
  21   TECHNOLOGIES (SHANGHAI)                  AMENDED COMPLAINT ON
                                                FOREIGN DEFENDANT RUIJIE
  22   CO., LTD., GRAND CHIP LABS,              VIA E-MAIL PURSUANT TO FED.
       INC., D-LINK CORPORATION,                R. CIV. P. 4(F)(3)
  23
       D-LINK SYSTEMS, INC., AND
  24   RUIJIE NETWORKS CO., LTD.,               No Hearing Noticed
  25                       Defendants.
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   1         Pursuant to Local Rule 79-5.2.2, Plaintiff Skyworks Solutions, Inc.
   2   (“Skyworks”) respectfully requests leave to file under seal its Ex Parte Application
   3   For Leave To Serve Its First Amended Complaint On Foreign Defendant Ruijie Via
   4   E-Email Pursuant To Fed. R. Civ. P. 4(f)(3) (“Ex Parte Application”) and Exhibit 3
   5   thereto.
   6         As discussed in the accompanying Declaration of James M. Dowd, Exhibit 3
   7   is an email that contains personally identifiable information (i.e., the names and
   8   email addresses) of employees of both Plaintiff and defendant Ruijie Networks Co.,
   9   Ltd. (“Ruijie”). The redacted portions of Skyworks’ Ex Parte Application provide
  10   the names and email addresses of the individuals referenced in Exhibit 3.
  11         Accordingly, in order to protect this personal information from public
  12   disclosure, Skyworks respectfully requests an order granting leave to file its Ex Parte
  13   application and Exhibit 3 under seal.
  14

  15   Dated: September 9, 2024         Respectfully Submitted,
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  17                                    By: /s/ James M. Dowd
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                                                                    CASE NO.: 8:24-cv-00974-FWS-ADS
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                                                             CASE NO.: 8:24-cv-00974-FWS-ADS
